Case 2:17-cv-08309-RGK-PLA Document 24 Filed 08/20/18 Page 1 of 7 Page ID #:312




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8    Attorneys for the                                                              ,~`, "~'
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9
10                         UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12                                   WESTERN DIVISION

     UNITED STATES OF AMERICA ex                  No. CV 17-8309-RGK(PLA)
13
     rel_[UNDER SEAL],
                                                 UNITED STATES' AND STATE OF
14                                               CALIFORNIA'S CONSENT TO
                 Plaintif~js],
                                                 RELATOR'S DISMISSAL OF ACTION
15
                        v.                       AND REQUEST FOR UNSEALING OF
                                                 CASE
16
     [UNDER SEALJ,                               [F_ ILED UNDER SEAL PURSUANT TO
17
                 Defendant[s].                   THE F2,.~SE CLAIMS ACT,31 U.S.C.
                                                 §§ 3730(b)(2) AND (3j]
18
                                                 [FILED CONCURRENTLY UNDER
19                                                SEAL: [PROPOSED~] ORDER TO
                                                 DISMISS ACTION A.ND UNSEAL
20                                                CASEI
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22
 Case 2:17-cv-08309-RGK-PLA Document 24 Filed 08/20/18 Page 2 of 7 Page ID #:313

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     United Mates of America
 9
10                              UNITED STATES DISTRICT COURT
11                    FOR THE CENTRAL DISTRICT OF CALIFORl~TIA
12                                   WESTERN DIVISION
13   LTl~ITED STATES OF AMERICA ex               No. CV 17-8309-RGK(PLA)
     rel.[UNDER SEAL],
14                                              UNITED STATES' AND STATE OF
                Plaintiff[s],                   CALIFORNIA'S CONSENT TO
15                                              RELATOR'S DISMISSAL OF ACTION
                       v.                       AND REQUEST FOR UNSEALING OF
16                                              CASE
     [UNDER SEAL],
17                                              [FILED UNDER SEAL PURSUANT TO
                Defendant[s].                   THE FALSE CLAIMS ACT,31 U.S.C.
18                                              §§ 3730(b)(2) AND (3)]
19                                              [FILED CONCURRENTLY UNDER
                                                SEAL: [PROPOSED]~ ORDER TO
20                                              DISMISS ACTION AND UNSEAL
                                                CASEI
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 Case 2:17-cv-08309-RGK-PLA Document 24 Filed 08/20/18 Page 3 of 7 Page ID #:314




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10                            UNITED STATES DISTRICT COURT
11                     FOR THE CENTRAL DISTRICT OF CALIFORI~IIA
12                                     WESTERN DIVISION
13   UNITED STATES OF AMERICA and                   No. CV 17-8309-RGK(PLA)
     THE STATE OF CALIFORNIA, ex rel.
14   INTEGRA MED ANALYTICS LLC,                     UNITED STATES' AND STATE OF
                                                    CALIFORNIA'S CONSENT TO
15               Plaintiff,                         RELATOR'S DISMISSAL OF ACTION
                                                    AND REQUEST FOR UNSEALING OF
16                      v.                          CASE
17 LONGWOOD MANAGEMENT                              [FILED UNDER SEAL PURSUANT TO
   CORP.; ABILITY HOMECARE,INC;                     THE FALSE CLAIMS ACT,31 U.S.C.
18 ALDEN ENTERPRISES,INC;                           §§ 3730(b)(2) AND (3)]
   ART'ESIA HEALTHCARE,INC.;
19 BEAUMONT MANOR,LLC;
   BROADWAY MANOR CARE                             [FILED CONCURRENTLY UNDER
20 CENTER,INC.; BURBANK                             SEAL: [PROPOSED] ORDER TO
   HEALTHCARE,INC.; BURLINGTON                     DISMISS ACTION A-ND UNSEAL
21 CONVALESCENT HOSPITAL,INC.;                      CASE]
   CASA BONITA CONVALESCENT
22 HOSPITAL,  INC.• CHINO VALLEY
   REHABILITATION CENTER,LLG;
23 COLDWATER CARE CENTER,INC.;
   COLONIAL CARE CENTER,INC.;
24 COVINA CARE CENTER,INC.;
   CRENSHAW ENTERPRISES,INC.;
25 ICC CONVALESCENT HOSPITAL,
   INC.; IMPERIAL CREST
26 HEALTHCARE CENTER,LLC;
   LAUREALWELLNESS AND
27 NURSING CENTER,LLC;
   LONGWOOD ENTERPRISES,INC.;
28
 Case 2:17-cv-08309-RGK-PLA Document 24 Filed 08/20/18 Page 4 of 7 Page ID #:315




 1     CONVALESCENT HOSPITAL INC.;
       MONTROSE HEALTHCARE,INC.;
 2     NORMANDIE WILSHIRE
       REITREMENT HOTEL,INC.;
 3     NORTHRIDGE CARE CENTER,INC.;
       NORWALK HEALTHCARE INC.;
 4     PARK ANAHEIM HEALTH CARE
       LLC;PICO RIVERA HEALTHCARE,
 5     INC.; SAN GABRIEL
       CONVALESCENT CENTER,INC,;
 6     SGV HEALTHCARE INC.; SHEA
       HEALTHCARE CENTER,INC.;
 7     STUDIO CITY CONVALESCENT
       HOSPITAL; SLINNYVIEW
 8     CONVALESCENT HOSPITAL,INC.;
       TZIPPY CARE INC.; VIEW PARK
 9     CONVALESCENT HOSPITAL,INC.
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 Case 2:17-cv-08309-RGK-PLA Document 24 Filed 08/20/18 Page 5 of 7 Page ID #:316




 1         In the interests ofjustice, the United States of America("United States") and the
 2   Attorney General ofthe State of California, through their respective attorneys of record,
 3   hereby consent to the dismissal of this action without prejudice as to the United States
 4   and the State of California.
 5         The United States and the State of California, through their respective attorneys of
 6   record, further request that the Count unseal the following documents filed or lodged to
 7   date with the Court in this action:
 8                  1. The Relator's Amended Complaint;
 9                  2. The Relator's Request for Dismissal of Action; United States' and the
10                     State of California's Consent and Request for Unsealing the Case; and
11                     the accompanying proposed Order.
12         The United States and the State of California further request that all other papers
13 fried or lodged to date in this action should remain permanently under seal because such
14   papers were provided by law to the Court alone for the sole purpose of discussing the
15   content and extent ofthe United States' and the State of California's investigation, and,
16   thereby, evaluating whether the seal and time for making an election to intervene should
17   be extended.
18         A proposed order is lodged concurrently herewith.
19
20                                         Respectfully submitted,
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Case 2:17-cv-08309-RGK-PLA Document 24 Filed 08/20/18 Page 6 of 7 Page ID #:317




 1   Dated: August 15, 2018       CHAD A. READLER
                                  Actin~ ~g ~Assistant Attorne General, Civil Division
 2                                MICHAEL D. GR.ANS~ON
                                  ANDY J. MAO
 3                                AMY L. LIKOFF
 4                                           ~.             ~Q
                                  AMY . LIKOFF
 5                                Trial Attorney, Civil Division
 6                                Attorneys for the
                                  United States of America
 7
 8
 9
     Dated: August 15, 2018      XAVIER BECERRA
10                               Attorney General of California
                                 BRIAN FRANKEL
11                               Supervising Deputy Attorney <
                                                               s
12
13
14                               Deputy Attorney General
15                               Attorneys for the People of the State of California
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 Case 2:17-cv-08309-RGK-PLA Document 24 Filed 08/20/18 Page 7 of 7 Page ID #:318

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 1                           PROOF OF SERVICE BY U.S. MAIL
 2         I am over the age of 18 and not a party to the above-captioned action. 7 am
 3   employed by the Office of United States Attorney, Central District of California. My
 4   business address is 300 North Los Angeles Street, Suite 7516, Los Angeles, California
 5   90012.
 6         On August~2018, I served the UNITED STATES' AND STATE OF
 7   CALIFORNIA'S CONSENT TO RELATOR'S DISMISSAL OF ACTION AND
 8   REQUEST FOR UNSEALING OF CASE;PROPOSED ORDER on each person or
 9 ~ entity named below by U.S. mail.
10         Date of mailing: August2018. Place of mailing: Los Angeles, California.
11         Persons) and/or Entity(s} to whom mailed:
12      P. JASON COLLINS                             CARLOTTA HIVORAL
        JEREMY H. WELLS                              Deputy Attorney General
13      REID, COLLINS, TSAI LLP                      Office of the Attorney General.
        1301 S. Capital of Texas Hwy                 California Department of Justice
14      Building C, Suite 300                        145.5 Frazee load, Suite 315
        Austin, Texas 78746                          San Diego, CA 92108-4304
15
        JASON H. TOKORO
16      MILLER BARONDESS,LLP
        1999 Avenue ofthe Stars, Suite 1000
17      Los Angeles, California 90067
18      Attorneys for the Relator
19        I declare that I am employed in the office of a member ofthe bar of this Court at
20   whose direction the service was made.
21        I declare under penalty of perjury that the foregoing is true and correct.
22        Executed on August        ~2018, at Los Angeles, California.
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                                         C.
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                                           ROZ         S
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